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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF FLORIDA
                      PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS               Case No. 3:19-md-2885
EARPLUG PRODUCTS LIABILITY
LITIGATION

This Document Relates to:           Judge M. Casey Rodgers
Vilsmeyer, 7:20-cv-00113            Magistrate Judge Gary R. Jones
Wilkerson, 7:20-cv-00035
Kelley, 7:20-cv-00153                  Confidential – Filed Under Seal
Vaughn, 7:20-cv-00134                         Public Version
Beal, 7:20-cv-00006



PLAINTIFFS’ OMNIBUS MOTION AND MEMORANDUM OF LAW TO
 EXCLUDE DEFENDANTS’ EXPERT OPINIONS AND TESTIMONY
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      Plaintiffs1 submit this motion and incorporated memorandum of law to

exclude the opinions and testimony of Defendants’ designated experts.

                               I.   INTRODUCTION
      On December 30, 2021, Defendants disclosed seventeen (17) expert witnesses

pursuant to Federal Rule of Civil Procedure 26(a)(2) in the above-captioned Group

D cases.2 Defendants also disclosed two hybrid/percipient witnesses.3 As detailed

below, Defendants’ experts fail to meet the requirements for admissible expert

testimony under Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993), and

Federal Rules of Evidence 702, 703, and 403. Pursuant to these authorities, Plaintiffs

move to exclude new general opinions and testimony of Dr. James Crawford.4



1
  The Group D Plaintiffs include Luke Vilsmeyer, Steven Wilkerson, Denise Kelley,
Jonathan Wade Vaughn, and James Beal.
2
  See Group D Expert Witness Disclosure Letter from R. Brock to B. Aylstock, Dec.
30, 2021 (“PX1”).
3
  As in the Group A cases, Defendants have once again disclosed Dr. Eric Fallon and
Mr. Elliott Berger as percipient/hybrid witnesses under Fed. R. Civ. P. 26(a)(2)(C)
in the Group D cases. See PX1; see also PX2(Fallon), PX3(Berger). However,
because the Group D disclosures of Fallon and Berger are identical to their
disclosures made in Group A, Plaintiffs do not address their opinions herein, but
rather move to exclude same via preservation motion filed simultaneously herewith.
4
  Plaintiffs also move to exclude, via preservation motion filed simultaneously
herewith, the general expert opinions of Dr. John Casali, Dr. James Crawford, Drs.
Gregory Flamme & Mark Stephenson, Dr. Harri Kytomaa, Dr. Jennifer LaBorde,
and Dr. Vickie Tuten. See PX4(Casali-(General)), PX5(Crawford-(General)),
PX6(Flamme&Stephenson-(General)), PX7(Kytomaa-(General)), PX8(LaBorde-
(General)), and PX9(Tuten-(General)). Excepting those new opinions of Crawford
addressed herein, the Group D general expert opinions of these witnesses remain
unchanged from Groups A, B, and C; therefore, Group D Plaintiffs have filed a
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Plaintiffs also move to exclude case-specific opinions and testimony of Dr. Walter

W. Chatham (Kelley), Dr. James Crawford (Kelley, Wilkerson), Dr. Douglas Jacobs

(Vaughn, Wilkerson), Dr. Dennis Pappas, Jr. (Vaughn), Drs. Gregory Flamme &

Mark Stephenson (Vilsmeyer, Wilkerson), Dr. Stan Phillips (Vilsmeyer), and Drs.

Derek Jones & Jennifer LaBorde (Wilkerson).5

                             II.   LEGAL STANDARD
      Daubert, 509 U.S. 579, provides the analytical framework for determining

whether expert testimony is admissible under Federal Rule of Evidence 702. See

Flury v. Daimler Chrysler Corp., 427 F.3d 939, 944 (11th Cir. 2005). Rule 702

requires trial courts to perform a “gatekeeping” function to ensure that expert

testimony is reliable and relevant. Rink v. Cheminova, Inc., 400 F.3d 1286, 1291

(11th Cir. 2005); Kumho Tire Co. v. Carmichael, 526 U.S. 137, 147 (1999). The

proponent of expert testimony must prove its admissibility by a preponderance of

the evidence. Hendrix ex rel. G.P. v. Evenflo Co., 609 F.3d 1183, 1194 (11th Cir.

2010).




motion to preserve all Group A, Group B, and Group C Daubert motions to exclude
the expert opinions of these experts (see Docs. 1595 (Group A), 1863 (Group B),
and 2051 (Group C)), which motions this Court adjudicated in prior Orders. See
Docs. 1651, 1680, 1690, 1701, and 1780 (Group A), 1910 (Group B), and 2218 and
2290 (Group C).
5
  Pursuant to the parties’ agreement dated October 28, 2021, case-specific Daubert
motions are due in Plaintiff Beal’s case on March 28, 2022. Therefore, if necessary,
Plaintiff Beal will file a separate case-specific Daubert motion on or before that date.

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      Expert testimony is reliable and relevant when it satisfies the criteria of

“qualification, reliability, and helpfulness”—“(1) the expert is sufficiently qualified

to testify about the matters he intends to address; (2) the methodology used is

‘sufficiently reliable as determined by the sort of inquiry mandated in Daubert; and

(3) the testimony assists the trier of fact, through the application of scientific,

technical, or specialized expertise, to understand the evidence or to determine a fact

in issue.’” Navelski v. Int’l Paper Co., 244 F. Supp. 3d 1275, 1286 (N.D. Fla. 2017).

These are “distinct concepts that courts and litigants must take care not to conflate.”

Quiet Tech. DC-8, Inc. v. Hurel-Dubois UK Ltd., 326 F.3d 1333, 1341 (11th Cir.

2003).

      To be qualified, an expert must “ha[ve] sufficient ‘knowledge, skill,

experience, training, or education’ to form a reliable opinion about an issue that is

before the court.” Navelski, 244 F. Supp. 3d at 1286. “This inquiry is not stringent,

and so long as the expert is minimally qualified, objections to the level of the expert’s

expertise go to credibility and weight, not admissibility.” Feliciano v. City of Miami

Beach, 844 F. Supp. 2d 1258, 1262 (S.D. Fla. 2012) (internal quotation marks

omitted).

      To be reliable, “an expert’s opinion must be based on scientifically valid

principles, reasoning, and methodology that are properly applied to the facts at

issue.” Navelski, 244 F. Supp. 3d at 1286 (citing U.S. v. Frazier, 387 F.3d 1244,



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1261-62 (11th Cir. 2004). Relevant factors include whether: (1) “the scientific

technique can be or has been tested”; (2) “the theory or technique has been subjected

to peer review or publication”; (3) “the technique has a known or knowable rate of

error”; and (4) “the technique is generally accepted in the relevant community.” Id.

(citing Daubert, 509 U.S. at 593-94). Such factors are illustrative, not exhaustive.

See Quiet Tech., 326 F.3d at 1341; Rink, 400 F.3d at 1292 (courts “have substantial

discretion in deciding how to test an expert’s reliability”). Although reliability is a

flexible inquiry, Kumho Tire, 526 U.S. at 141-42, the analytical focus “must be

solely on principles and methodology, not on the conclusions that they generate.”

Daubert, 509 U.S. at 595.

      To be helpful, “expert testimony must be relevant to an issue in the case and

offer insights beyond the understanding and experience of the average citizen.”

Navelski, 244 F. Supp. 3d at 1287. Relevant expert testimony “advances a material

aspect of the proposing party’s case and ‘fits’ the disputed facts.” In re Abilify

(Aripiprazole) Prod. Liab. Litig., 299 F. Supp. 3d 1291, 1305 (N.D. Fla. 2018).

When “too great an analytical gap” exists between the facts and the proffered

opinion, the expert opinion does not “fit.” Id. (quoting Gen. Elec. Co. v. Joiner, 522

U.S. 136, 147 (1997)).

      Ultimately, a court’s gatekeeping “role is to keep unreliable and irrelevant

information from the jury because of its inability to assist in factual determinations,



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methodology, is highly prejudicial under Rule 403, and should be excluded at trial

in Wilkerson and all of the Group D cases.

                               IV.   CONCLUSION

     For these reasons, Plaintiffs respectfully request the Court grant Plaintiffs’

motion.




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Date: February 4, 2022           Respectfully submitted,

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   CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(B), (C)

      Pursuant to Local Rule 7.1(B), counsel for Plaintiffs certify that they

conferred with Defendants’ counsel on February 2, 2022 regarding the foregoing

motion but were unable to resolve the issue with Defendants.



                                            /s/ Bryan F. Aylstock




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                      CERTIFICATE OF COMPLIANCE
                       WITH COURT’S WORD LIMIT

      I hereby certify that the foregoing contains 8,231 words and complies with

the Court’s directive on July 12, 2021 that Daubert motions have no more than 1,350

words per new issue and 1,350 words per new expert.

                                             /s/ Bryan F. Aylstock




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                        CERTIFICATE OF SERVICE

      I hereby certify that on February 4, 2022, I caused a copy of the foregoing

to be filed through the Court’s CM/ECF system, which will serve all counsel of

record.

                                            /s/ Bryan F. Aylstock




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